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                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS


In Re: Janice K. Harris

       Debtor(s)                                      Case No.: 05−39667
                                                      Chapter: 7


                                                 FINAL DECREE


The estate of the above−named debtor has been fully administered.




The deposit required by the plan has been distributed. (Chapter 13 Only)



IT IS ORDERED THAT:


Randy W Williams is discharged as trustee of the estate of the above−named debtor and the bond is cancelled;

The chapter 7 case of the above−named debtor is closed.




Signed and Entered on Docket: 12/17/05
